Case 19-00625   Doc 5   Filed 05/30/19   Entered 05/30/19 14:05:09   Desc Main
                           Document      Page 1 of 3
Case 19-00625   Doc 5   Filed 05/30/19   Entered 05/30/19 14:05:09   Desc Main
                           Document      Page 2 of 3




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                 April 23, 2019




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Case 19-00625   Doc 5   Filed 05/30/19   Entered 05/30/19 14:05:09   Desc Main
                           Document      Page 3 of 3
